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                                           and Par Sterile Products, LLC

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

PAR PHARMACEUTICAL, INC., and                 Civil Action No. __________
PAR STERILE PRODUCTS, LLC,
                                              Document Electronically Filed
      Plaintiffs,

             v.
                                            CERTIFICATION PURSUANT TO
QUVA PHARMA, INC., STUART                      LOCAL CIVIL RULE 11.2
HINCHEN, PETER JENKINS, and
MIKE RUTKOWSKI,

      Defendants.

      Pursuant to Local Civil Rule 11.2, the undersigned, attorney of record for

Par Pharmaceutical, Inc. and Par Sterile Products, LLC (“Plaintiffs”), hereby

certifies that to the best of my knowledge and based upon the information available

to me at this office, the matter in controversy is not the subject of any other action
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pending in this or any other court or of any pending arbitration or administrative

proceeding.

Dated: August 14, 2017         By: s/ Lawrence S. Lustberg
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